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11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                 WESTERN DIVISION
14 IBTEHAZ UTSAY, on behalf of himself Case No.: 2:20-cv-06902
   and all others similarly situated,
15                                     CLASS ACTION COMPLAINT
                 Plaintiff,
16                                     JURY TRIAL DEMANDED
           v.
17
   THE CALIFORNIA STATE UNIVERSITY
18 SYSTEM, GOVERNOR GAVIN
   NEWSON, ELENI KOUNALAKIS,
19 ANTHONY RENDON, TONY K.
   THURMOND, TIMOTHY P. WHITE,
20 SILAS ABREGO, LARRY L. ADAMSON,
   JANE W. CARNEY, ADAM DAY,
21 REBECCA D. EISEN, DOUGLAS
   FAIGIN, DEBRA S. FARAR, JEAN P.
22 FIRSTENBERG, WENDA FONG,
   MARYANA KHAMES, LILLIAN
23 KIMBELL, JACK MCGRORY, HUGO N.
   MORALES, ROMEY SABALIUS,
24 LATEEFAH SIMON, CHRISTOPHER
   STEINHAUSER, and PETER J. TAYLOR,
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                 Defendants.
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                                CLASS ACTION COMPLAINT
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 1          Plaintiff, Ibtehaz Utsay (“Plaintiff”), by and through his undersigned counsel and,
 2 on behalf of himself and the proposed class, brings this class action against Defendants,
 3 the California State University System (the “System”), and Governor Gavin Newsom,
 4 Eleni Kounalakis, Anthony Rendon, Tony K. Thurmond, Timothy P. White, Silas
 5 Abrego, Larry L. Adamson, Jane W. Carney, Adam Day, Rebecca D. Eisen, Douglas
 6 Faigin, Debra S. Farar, Jean P. Firstenberg, Wenda Fong, Maryana Khames, Lillian
 7 Kimbell, Jack McGrory, Hugo N. Morales, Romey Sabalius, Lateefah Simon,
 8 Christopher Steinhauser, and Peter J. Taylor in their individuals capacities as members
 9 of the Board of Trustees of the System (collectively, the “Board” and, collectively with
10 the System, “Defendants”), and alleges as follows based upon information and belief,
11 except as to the allegations specifically pertaining to him, which are based on personal
12 knowledge.
13                                NATURE OF THE ACTION
14          1.    This is a Class Action Complaint on behalf of all persons who paid tuition
15 and/or fees to attend one of the Universities 1 overseen by Board (collectively, the
16 “Universities”), for an in-person, hands-on education for the Spring 2020 semester,
17 Summer 2020 semester, and any future semester where their course work moved to
18 online learning. Such persons paid, or will pay, all or part of the tuition for this semester
19 and mandatory student fees that varied widely by university and campus (collectively
20 the “Mandatory Fees”).
21          2.    The Universities have not refunded any amount of the tuition or any portion
22 of the Mandatory Fees, even though it has implemented online distance learning since
23 mid-March 2020.
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     CSU-Bakersfield, CSU-Channel Islands, CSU-Chico, CSU-Dominguez Hills, CSU-
27 East Bay, CSU-Fresno, CSU-Fullerton, Humboldt State, CSU-Long Beach, CSU-Los
   Angeles, Cal Poly Pomona, CSU-Sacramento, CSU-San Bernardino, San Diego State,
28 San Francisco  State, San Jose State, Cal Poly San Luis Obispo, CSU-San Marcos,
   Sonoma State, and CSU-Stanislaus.
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 1          3.    Because of the Board’s response to the Coronavirus Disease 2019
 2 (“COVID-19”) pandemic, by mid-March, the Universities ceased or severely limited
 3 any of the services or facilities the Mandatory Fees were intended to cover.
 4          4.    As a result, the Universities unlawfully seized and are in possession of
 5 property (funds) of the Plaintiff and Class members in the form of paid tuition and
 6 Mandatory Fees.
 7          5.    The Universities failure to provide the services for which tuition and the
 8 Mandatory Fees were intended to cover since approximately mid-March is a breach of
 9 the contracts between the Universities and Plaintiff and the members of the Class, and
10 is unjust.
11          6.    In short, as to tuition, Plaintiff and the members of the Class have paid
12 tuition for a first-rate education and educational experience, with all the appurtenant
13 benefits offered by a first-rate university, and were provided a materially deficient and
14 insufficient alternative, which constitutes a breach of the contracts entered into by
15 Plaintiff and the Class with the Universities.        As said in New York Magazine,
16 “Universities are still in a period of consensual hallucination with each saying, ‘We’re
17 going to maintain these prices for what has become, overnight, a dramatically less
18 compelling product offering.’”2
19          7.    As to the Mandatory Fees, Plaintiff and the Class have paid fees for services
20 and facilities which were simply not provided; this failure also constitutes a breach of
21 the contracts entered into by Plaintiff and the Class with the Universities.
22          8.    Plaintiff seeks, for himself and Class members, the Universities’
23 disgorgement and/or appropriate compensatory damages in return of the pro-rated
24 portion of its tuition and Mandatory Fees, proportionate to the amount of time that
25 remained in the Spring semester 2020, Summer semester 2020, and any future semesters
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   2
     James D. Walsh, “The Coming Disruption,” New York Magazine, May 11, 2020,
28 available    at    https://nymag.com/intelligencer/2020/05/scott-galloway-future-of-
   college.html?utm_source=fb (site last visited June 9, 2020).
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                                  CLASS ACTION COMPLAINT
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 1 when the Universities switched to online distance learning, strongly encouraged students
 2 to leave campus, and closed or ceased access to facilities and services.
 3                                         PROCEDURE
 4          9.     Prior to bringing this action, on July 30, 2020, Plaintiff served a Notice of
 5 Claim to the Board on behalf of himself and the Class as defined herein pursuant to the
 6 California Torts Claim Act. A copy of the Notice of Claim is attached hereto as
 7 Exhibit A.
 8          10.    Plaintiff fully expects Defendants to reject the claims set forth in the Notice
 9 of Claim, which rejection allows the claims herein to be filed with this Court.
10          11.    Plaintiff’s counsel has also sent requests under the California Public
11 Records Act to the Board and each of the individual Universities in order to, inter alia,
12 gain access to the internal communications regarding issuing potential refunds and
13 reimbursements to the students, and the ultimate denial of the same. If any information
14 received proves fruitful, we shall amend the Complaint to incorporate the same.
15                                           PARTIES
16          12.    Plaintiff Ibtehaz Utsay is a citizen of California. He paid to attend the
17 Spring 2020 semester at California State University-Northridge (“Northridge Campus”)
18 as a full-time undergraduate student.
19          13.    Plaintiff paid tuition and the Mandatory Fees for the Spring 2020 semester
20 to enable him to obtain an in-person, on-campus educational experience, and enable him
21 to participate in the activities and to utilize the services covered by the Mandatory Fees
22 that he paid.
23          14.    He has not been provided a pro-rated refund of the tuition for his in-person
24 classes that were discontinued and moved online, or any of the Mandatory Fees he paid
25 after Northridge Campus’ facilities were closed or access was severally limited and
26 events were cancelled.
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 1          15.   The System is comprised of the Universities, and make up the country’s
 2 largest higher education system. 3 The System maintains its principal place of business
 3 at 401 Golden Shore, Long Beach, California 90802.
 4          16.   The System is governed by the Board of Trustee’s, comprised of five ex
 5 officio members, one representative of the alumni associations of the System, and sixteen
 6 appointive members by the Governor and subject to confirmation by Senate.4
 7          17.   Defendants Governor Gavin Newsom, Eleni Kounalakis, Anthony Rendon,
 8 Tony K. Thurmond, Timothy P. White, Silas Abrego, Larry L. Adamson, Jane W.
 9 Carney, Adam Day, Rebecca D. Eisen, Douglas Faigin, Debra S. Farar, Jean P.
10 Firstenberg, Wenda Fong, Maryana Khames, Lillian Kimbell, Jack McGrory, Huge N.
11 Morales, Romey Sabalius, Lateefah Simon, Christopher Steinhause, and Peter J. Taylor
12 are being sued in their official capacities as members of the Board of Trustees. The
13 Board maintains its principal place of business at 401 Golden Shore, Long Beach,
14 California 90802.
15          18.   The Universities offer numerous major fields for undergraduate students,
16 as well as a number of graduate programs. The Universities’ programs include students
17 from many, if not all, of the states in the country.
18                              JURISDICTION AND VENUE
19          19.   The Court has jurisdiction over this action pursuant to 28 U.S.C.
20 § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least
21 one member of the Class, as defined below, is a citizen of a different state than
22 Defendants, there are more than 100 members of the Class, and the aggregate amount in
23 controversy exceeds $5,000,000 exclusive of interests and costs.
24          20.   This Court has personal jurisdiction over Defendants because Defendants
25 maintain its principal place of business in this District.
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     https://www.calstate.edu/impact/campus.html#:~:text=The%20California%20State%
      3
28 20University%20is,with%20more%20than%20427%2C000%20students.
   4
     Cal. Ed. Code § 66600, et seq.
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 1          21.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
 2 Defendants reside in this District.
 3                               FACTUAL ALLEGATIONS.
 4          22.   Plaintiff and Class Members have paid, or will pay, tuition and the
 5 Mandatory Fees to attend the Universities Spring 2020 semester, Summer 2020
 6 semester, and any future semester where in-person education is not provided.
 7          23.   The Spring 2020 semester at the Northridge Campus began on or about
 8 January 21, 2020 and ended on or around May 15, 2020.5 The Summer 2020 semester
 9 began on or about May 26, 2020 and is scheduled to end on or about August 18, 2020. 6
10          24.   Tuition costs at the Universities for the Spring 2020 and Summer 2020
11 semesters for a full-time undergraduate student was approximately $5,742 per semester
12 for California residents. For non-residents, tuition costs were approximately $5,742 per
13 semester plus an additional $264 per quarter unit or $396 per semester unit. For graduate
14 students, tuition ranged from approximately $4,164 per semester to approximately
15 $17,196 per semester. 7
16          25.   In addition to tuition, Plaintiff, and the Class members each had to pay the
17 Mandatory Fees for their respective Universities. The Mandatory Fees at the Universities
18 were approximately $847 to $4,201 per semester, depending on which university the
19 student was enrolled with. The Mandatory Fees included: Health Facilities, Health
20 Services, Instructionally Related Activities, Material Services & Facilities, Student
21 Success Fee, Student Association, and Student Center fees.8
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25  https://www.csun.edu/sites/default/files/AcademicCalendar_19.20.pdf
      5

    https://www.csun.edu/sites/default/files/2020-2021_Academic%20Calendar_4_15_2020
      6
26 _1.pdf
27 7 https://www2.calstate.edu/attend/paying-for-college/csu-costs/tuition-and-fees/campus-
   mandatory-fees
28 8 https://www2.calstate.edu/attend/paying-for-college/csu-costs/tuition-and-fees/campus-
   mandatory-fees
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 1             26.    Plaintiff and the members of the Class paid all or part of the applicable
 2 tuition for the benefit of on-campus live interactive instruction and an on campus
 3 educational experience throughout the entire semester.
 4             27.    Plaintiff and the members of the Class paid the Mandatory Fees for the
 5 semester so they could benefit throughout the semester from all of the Universities’
 6 facilities and services, recreation, athletics, health and wellness programs, and
 7 organizations, among many other benefits that the significant fees were paid to cover.
 8             28.    The Universities have retained the value of the tuition and Mandatory Fees,
 9 while failing to provide the services for which they were paid.
10             29.    Members of the Class have demanded the return of the prorated portion of
11 tuition, and Mandatory Fees, and have taken to online petitions to demand the same. 9
12             30.    Despite the demand from members of the Class, the Universities have not
13 provided any refund of the tuition or Mandatory Fees, and continues to retain the monies
14 paid by Plaintiff and the Class.
15     In Response to COVID-19, the Universities Closed Campus, Preventing Access to its
16                   Facilities and Services, and Cancelled All In-Person Classes
17             31.    In response to the COVID-19 pandemic, Northridge Campus created a new
18 section for its website to post news alerts and updates, and to answer frequently asked
19 questions.10
20             32.    On March 11, 2020, the Northridge Campus announced that it was
21 transitioning to virtual instruction after spring break, and that all classes from March 23
22 through April 19 would be remote online learning only. In order to prepare for the
23 transition, all in-person classes were cancelled from March 12 through March 15.11
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     https://www.change.org/p/california-community-colleges-california-state-university-
26 regents-of-the-university-of-california-demand-ccc-csu-uc-regents-lower-tuition-and-
27 fees-for-spring-quarter-semester-2020;
   and-student-activity-fees
                                              https://www.change.org/p/csu-refund-of-rec-

28    10
           https://www.csun.edu/COVID-19
      11
           https://www.csun.edu/president/csun-transition-virtual-learning-and-alternate-modalities
                                                 7
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 1          33.    On March 17, 2020, the Northridge Campus announced that it will be
 2 extending virtual online learning and cancelling all in-person classes for the remainder
 3 of the Spring 2020 semester.12
 4          34.    In its March 17 announcement, Northridge Campus strongly encouraged
 5 students to explore alternative living arrangements, closed the library and student union
 6 (with the exception of the computer labs), moved most office functions and services to
 7 a remote online format, and postponed the Spring 2020 commencement.13
 8          35.    On March 23, 2020, Northridge Campus announced that academic support
 9 services, student support services, and administrative services were closed or moved to
10 a virtual platform. This announcement also advised that events, clubs, and organizations
11 were in the process of finding ways to engage virtually. 14
12          36.    On March 30, 2020, Northridge Campus announced that it is closing the
13 computer labs in the library and student union.15
14          37.    On April 3, 2020, Northridge Campus announced that it will provide
15 students with the option to receive a Credit or No Credit grade rather than the traditional
16 in-person letter grade. 16
17          38.    The Northridge Campus ultimately expanded remote online learning
18 throughout the Summer 2020 semester. Those who have paid tuition for the Summer
19 2020 semester have not received any discount or refund for the lack of in-person
20 education that was paid for.
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24    12
           https://www.csun.edu/president/accelerating-virtual-instruction-and-social-distancing-
      students-and-employees
25    13
         Id.
26    14
         https://www.csun.edu/president/returning-instruction-under-new-paradigm
27
      15
           https://www.csun.edu/president/march-30-covid-19-update-laptop-loaner-program-
      extended-computer-labs-closing
28    16
               https://www.csun.edu/president/alternatives-spring-2020-grading-and-planning-
      ahead-extended-virtual-instruction
                                              8
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 1             39.   The Northridge Campus also plans to “offer Fall 2020 courses primarily
 2 through virtual instruction.” 17 The Fall 2020 semester tuition and Mandatory Fees have
 3 not been discounted.
 4             40.   Under the guidance of the Board, the Universities all followed similar
 5 protocol and procedures in response to COVID-19. The Universities have not refunded
 6 the tuition and Mandatory Fees paid for in-person on campus education, and access to
 7 facilities and services that were/are not being provided.
 8             41.   The Universities have not held any in-person classes since mid-March
 9 2020. Classes that have continued since that time have only been offered in a remote
10 online format with no in-person instruction or interaction.
11      The Universities Online Courses Are Subpar to In-Person Instruction, For Which
12         Plaintiff and the Class Members Contracted with the Universities to Receive by
13                                     Paying Tuition and Fees
14             42.   Students attending the Universities did not choose to attend an online
15 institution of higher learning, but instead chose to enroll in the Universities in-person
16 educational program.
17             43.   On their website, the Northridge Campus markets its on-campus experience
18 as a benefit of enrollment by stating:
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23             44.   The other Universities similarly market their on-campus experience as a
24 benefit of enrollment:
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28    17
           https://www.csun.edu/csunasone/
      18
           https://www.csun.edu/collegeportrait/student-life
                                                9
                                     CLASS ACTION COMPLAINT
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13            45.   The online learning options being offered to the Universities’ students are
14 sub-par in practically every aspect as compared to what the educational experience
15 afforded Plaintiff and the members of the Class once was.
16            46.   During the online portion of the semester, the Universities offered some
17 classes through Zoom. Other classes, however, stopped providing the students with any
18 lectures at all and required that the students learn on their own and turn in assignments
19 when due. Therefore, there was a significant lack of classroom interaction among
20 teachers and students, and among individual students that is instrumental in
21 interpersonal skill development.
22            47.   The online formats being used by the Universities do not require
23 memorization or the development of strong study skills given the absence of any
24 possibility of being called on in class and the ability to consult books and other materials
25 when taking exams.
26
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28   19
          http://www.fullerton.edu/future-students/life/
     20
          https://www.csulb.edu/navigating-grad-studies-at-the-beach/campus-life
                                               10
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 1         48.   Further, the ability to receive a Credit/No Credit grade rather than a letter
 2 grade provides educational leniency that the students would not otherwise have with the
 3 in-person letter grading education that was paid for and expected.
 4         49.   Students have been deprived of the opportunity for collaborative learning
 5 and in-person dialogue, feedback, and critique.
 6         50.   Further, the cancellation of classes by extending spring break and reducing
 7 the number of classes delivered deprived Plaintiff and members of the Class of
 8 contracted for education.
 9         51.   Access to facilities such as class rooms, libraries, laboratories, computer
10 labs, and study rooms, are also integral to a college education, and access to the myriad
11 activities offered by campus life fosters social development and independence, and
12 networking for future careers, all substantial and materials parts of the basis upon which
13 the Universities can charge the tuition and Mandatory Fees it charges, but are not being
14 provided.
15         52.   The Universities have not made any refund of any portion of the tuition
16 Plaintiff and the members of the Class paid for the semester for the period it moved to
17 subpar on-line distance learning.
18         53.   Nor have the Universities refunded the Mandatory Fees it collected from
19 Plaintiff and the members of the Class for the semester even though it limited access to
20 or ceased the services and facilities for which the Mandatory Fees were intended to pay.
21         54.   Plaintiff and the Class members are therefore entitled to a pro-rated refund
22 of the tuition and Mandatory Fees they paid for the Spring 2020 semester for the
23 remaining days of the semester after classes moved from in-person to online and
24 facilities were closed or severally limited.
25         55.   Class members who are paying and will continue to pay tuition and
26 Mandatory Fees for the Summer 2020 semester and any future semester in which in-
27 person education is not provided should be entitled to an appropriate refund for the
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                                 CLASS ACTION COMPLAINT
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 1 period of time when in-person classes are cancelled and facilities and services are closed
 2 or not offered in person.
 3         56.    Defendants are obligated to uphold the California and United States
 4 Constitutions.
 5         57.    By denying Plaintiff and members of the Class in-person learning and on-
 6 campus benefits and opportunities, Defendants have violated Article I, §§ 7 and 19 of
 7 the California Constitution and the Fifth and Fourteenth Amendments of the U.S.
 8 Constitution. Plaintiff and members of the Class are entitled to a pro-rated refund of
 9 tuition and Mandatory Fees for the duration of the Universities’ COVID-19 related
10 closures for the in-person education and on-campus benefits and opportunities that
11 Plaintiff and members of the Class have been denied.
12                             CLASS ACTION ALLEGATIONS
13         58.    Plaintiff brings this case individually and, pursuant to Rule 23 of the
14 Federal Rules of Civil Procedure, on behalf of the class defined as:
15         All persons who paid tuition and the Mandatory Fees for a student to attend
           in-person class(es) during the Spring 2020 semester, Summer 2020
16         semester, and any future semester at the Universities, but had their class(es)
           moved to online learning (the “Class”).
17
18         59.    Excluded from the Class is Defendants, their subsidiaries and affiliates,
19 their officers, directors and members of their immediate families and any entity in which
20 Defendants have a controlling interest, the legal representative, heirs, successors or
21 assigns of any such excluded party, the judicial officer(s) to whom this action is
22 assigned, and the members of their immediate families.
23         60.    Plaintiff reserves the right to modify or amend the definition of the
24 proposed Class if necessary before this Court determines whether certification is
25 appropriate.
26         61.    This action has been brought and may properly be maintained on behalf of
27 the Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil
28 Procedure.

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 1            62.   The requirements of Rule 23(a)(1) have been met.           The Class is so
 2 numerous that joinder of all members is impracticable. Although the precise number of
 3 Class members is unknown to Plaintiff, the Board has reported that collectively
 4 481,929 students were enrolled for the 2019-2020 academic year at the Universities.21
 5 The number of Summer 2020 students and future semester enrollment is unknown at
 6 this time. The identity of all such students is known to the Defendants and can be
 7 identified through the Universities’ records. Class members may be notified of the
 8 pendency of this action by recognized, Court-approved notice dissemination methods,
 9 which may include U.S. Mail, electronic mail, Internet postings, and/or published notice.
10            63.   The requirements of Rule 23(a)(2) have been met. There are questions of
11 law and fact common to the members of the Class including, without limitation:
12                  a.     Whether the Universities accepted money from Plaintiff and the
13            Class members in exchange for the promise to provide an in-person and on-
14            campus live education, as well as access to certain facilities and services
15            throughout the semester;
16                  b.     Whether Defendants complied with the Constitutional requirements
17            for seizing and retaining Plaintiff’s and the Class members’ property without
18            providing the services that the tuition and Mandatory Fees were intended to cover;
19                  c.     Whether Defendants afforded Plaintiff and the other Class notice and
20            due process before seizing and retaining their property;
21                  d.     Whether Defendants breached its contracts with Plaintiff and the
22            members of the Class by failing to provide them with an in-person and on-campus
23            live education after mid-March, 2020;
24                  e.     Whether Defendants breached its contracts with Plaintiff and the
25            members of the Class by failing to provide the services and facilities to which the
26            Mandatory Fees pertained after mid-March, 2020;
27
28
     21
          https://www2.calstate.edu/csu-system/about-the-csu/facts-about-the-csu/enrollment
                                               13
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 1                f.     Whether Defendants are unjustly enriched by retaining a portion of
 2         the tuition and Mandatory Fees during the period of time the Universities have
 3         been closed, and Plaintiff and the members of the Class have been denied an in-
 4         person and on-campus live education and access and the services and facilities for
 5         which the Mandatory Fees were paid;
 6                g.     Whether Defendants intentionally interfered with the rights of the
 7         Plaintiff and the Class when it moved all in-person classes to a remote online
 8         format, cancelled all on-campus events, strongly encouraged students to stay
 9         away from campus, and discontinued services for which the Mandatory Fees were
10         intended to pay, all while retaining the tuition and Mandatory Fees paid by
11         Plaintiff and the Class; and
12                h.     The amount of damages and other relief to be awarded to Plaintiff
13         and the Class members.
14         64.    The requirements of Rule 23(a)(3) have been met. Plaintiff’s claims are
15 typical of the claims of the members of the Class because Plaintiff and the other Class
16 members each contracted with Defendants for it to provide an in-person and on-campus
17 live education for the tuition they paid, and access to the services and facilities for the
18 Mandatory Fees that they paid, that the Universities stopped providing in mid-March.
19         65.    The requirements of Rule 23(a)(4) have been met. Plaintiff is an adequate
20 class representative because his interests do not conflict with the interests of the other
21 Class members who he seeks to represent, Plaintiff has retained competent counsel who
22 are experienced in complex class action litigation, and Plaintiff intends to prosecute this
23 action vigorously. Class members’ interests will be fairly and adequately protected by
24 Plaintiff and his counsel.
25         66.    Class certification of Plaintiff’s claims is also appropriate pursuant to
26 Rule 23(b)(3) because the above questions of law and fact that are common to the Class
27 predominate over questions affecting only individual members of the Class, and because
28 a class action is superior to other available methods for the fair and efficient adjudication

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 1 of this litigation. The damages or financial detriment suffered by individual Class
 2 members are relatively small compared to the burden and expense of individual litigation
 3 of their claims against the Universities. It would, thus, be virtually impossible for the
 4 Class, on an individual basis, to obtain effective redress for the wrongs committed
 5 against them.      Furthermore, individualized litigation would create the danger of
 6 inconsistent or contradictory judgments arising from the same set of facts.
 7 Individualized litigation would also increase the delay and expense to all parties and the
 8 court system from the issues raised by this action. By contrast, the class action device
 9 provides the benefits of adjudication of these issues in a single proceeding, economies
10 of scale, and comprehensive supervision by a single court, and presents no unusual
11 management difficulties under the circumstances.
12                               FIRST CLAIM FOR RELIEF
13            VIOLATION OF THE “TAKINGS” CLAUSE - 42 U.S.C. § 1983
                        (On Behalf of Plaintiff and the Class)
14
15         67.    Plaintiff repeats and re-alleges Paragraphs 1 through 66, as if fully alleged
16 herein.
17         68.    Plaintiff brings this claim individually and on behalf of the other Class
18 members.
19         69.    The Takings Clause of the Fifth Amendment provides that private property
20 shall not “be taken for public use, without just compensation.” U.S. CONST. AMEND. V.
21 The takings clause is made applicable to the states through the Fourteenth Amendment.
22 See U.S. CONST. AMEND XIV; Murr v. Wisconsin, 137 S. Ct. 1933, 1942, 198 L. Ed. 2d
23 497 (2017) (citing Chicago, B. & Q.R. Co. v. Chicago, 166 U.S. 226, 17 S.Ct. 581, 41
24 L.Ed. 979 (1897)). Similarly, Article I, § 19 of the California Constitution provides that
25 private property shall not be taken “for public use” unless “just compensation . . . has
26 first been paid . . . .” CAL. CONST. ART. I, § 19. Thus, the Takings Clause of the U.S. and
27 California constitutions prohibits states, and state agencies like the System, from taking
28 private property for public use without just compensation.

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 1          70.   Takings claims may properly be brought against state agencies (such as the
 2 System) and against persons in their official capacities (such as the Board) and are not
 3 barred by sovereign immunity.
 4          71.   Common law has recognized that there is a property right by an owner in
 5 funds held in an account managed by another. Here, the Universities received payments
 6 of tuition and Mandatory Fees from private citizens, as consideration for the benefit of
 7 receiving in-person course instruction and other on-campus benefits – the funds are thus
 8 private in nature but held by a public entity. Plaintiff and the other members of the Class
 9 have a protected property right in all sums they paid to the Universities.
10          72.   Defendants violated the Takings Clause by failing to return to Plaintiff and
11 the other members of the Class that portion of the tuition and Mandatory Fees for which
12 they received nothing, or significantly less, than what they bargained for in return.
13 Neither Plaintiff nor the other Class members have made a knowing and voluntary
14 waiver of their constitutional right under the Fifth Amendment to be paid just
15 compensation for the taking of their property rights in those funds.
16          73.   Thus, Plaintiff and the Class are entitled to just and reasonable
17 compensation for the taking of their property.
18                             SECOND CLAIM FOR RELIEF
19                            DUE PROCESS - 42 U.S.C. § 1983
                             (On Behalf of Plaintiff and the Class)
20
21          74.   Plaintiff repeats and re-alleges Paragraphs 1 through 66, as if fully alleged
22 herein.
23          75.   Plaintiff brings this claim individually and on behalf of the members of the
24 Class.
25          76.   Government actors must provide adequate due process procedures when
26 depriving citizens of protected property interests. U.S. CONST.        AMEND.   XIV; CAL.
27 CONST. ART. I, § 7.
28

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 1         77.   The due process clauses of the U.S. and California constitutions prohibits
 2 the State of California and the governmental agencies that it forms, such as the System,
 3 from depriving citizens of a protected property interest without due process of law.
 4         78.   Plaintiff and the Class members have a constitutionally protected property
 5 interest in the tuition and Mandatory Fees they paid for in-person education and on-
 6 campus services and opportunities but were denied due to the COVID-19 pandemic.
 7         79.   Defendants took action affecting Plaintiff’s and the other Class members’
 8 constitutionally protected property interests by seizing and retaining the proceeds from
 9 Plaintiff’s and other Class members’ payment of the tuition and Mandatory Fees.
10         80.   Defendants deprived Plaintiff and the Class members of their protected
11 property interests without due process of law by, for example:
12               a.     Failing to provide timely notice to Plaintiff and the Class, whose
13         identity and contact information Defendants either knew, or by exercise or
14         reasonable diligence should have known, of the refundable nature of the tuition
15         and Mandatory Fees;
16               b.     Failing to design and implement criteria by which the tuition and
17         Mandatory Fees can be refunded to Plaintiff and the Class in light of the
18         Universities ceasing or severally limiting all on-campus in-person lectures and
19         activities due to the COVID-19 pandemic; and
20               c.     Failing to design and implement a mechanism by which Plaintiff and
21         the other Class can obtain a refund of the tuition and Mandatory Fees in light of
22         the Universities ceasing or severally limiting all on-campus in-person lectures and
23         activities due to the COVID-19 pandemic.
24         81.   Defendants’ failure to comply with the requirements of the Due Process
25 Clause of the United States Constitution in the manners outlined above has resulted in
26 substantial detriment to Plaintiff and the Class.
27
28

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 1                               THIRD CLAIM FOR RELIEF
 2                               BREACH OF CONTRACT
                             (On Behalf of Plaintiff and the Class)
 3
 4          82.   Plaintiff repeats and re-alleges Paragraphs 1 through 66 as if fully alleged
 5 herein.
 6          83.   Plaintiff brings this claim individually and on behalf of the members of the
 7 Class.
 8          84.   By paying the Universities tuition and the Mandatory Fees for the semester,
 9 the Universities agreed to, among other things, provide an in-person and on-campus live
10 education, as well as access to the services and facilities to which the Mandatory Fees
11 they paid pertained throughout the entire semester. As a result, Plaintiff and each
12 member of the Class entered into a binding contract with the Universities.
13          85.   The Universities are in possession of all contracts entered into with Plaintiff
14 and members of the Class.
15          86.   The Universities have failed to provide this contracted for in-person and
16 on-campus live education as well as the services and facilities to which the Mandatory
17 Fees pertained throughout the semester, yet has retained monies paid by Plaintiff and
18 the Class for a live in-person education and access to these services and facilities during
19 the entire semester. Plaintiff and the members of the Class have therefore been denied
20 the benefit of their bargain.
21          87.   Plaintiff and the members of the Class have suffered damage as a direct and
22 proximate result of the Universities’ breach in the amount of the prorated portion of the
23 tuition and Mandatory Fees they each paid during the remainder of the Spring 2020
24 semester, Summer 2020 semester, and for any future semesters.
25          88.   The Universities should return such portions to Plaintiff and each Class
26 Member.
27
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 1                             FOURTH CLAIM FOR RELIEF
 2                                UNJUST ENRICHMENT
                             (On Behalf of Plaintiff and the Class)
 3
 4         89.    Plaintiff repeats and re-alleges Paragraphs 1 through 66 as if fully alleged
 5 herein.
 6         90.    In the alternative, should there be a finding that no contract exists, Plaintiff
 7 brings this claim individually and on behalf of the members of the Class.
 8         91.    Plaintiff and members of the Class conferred a benefit on the Universities
 9 in the form of tuition and Mandatory Fees paid for the semester. The payment of the
10 tuition and Mandatory Fees were to be in exchange for an in-person and on-campus live
11 educational experience, and for services and facilities to which the Mandatory Fees
12 pertained throughout the entire semester.
13         92.    The Universities have retained the full benefit of the tuition and Mandatory
14 Fees payments by Plaintiff and the members of the Class for the semester, yet has failed
15 to provide the quality of education and services and facilities for which tuition and the
16 Mandatory Fees were paid, including those for an in-person and on-campus live
17 education, and full access to the Universities services and facilities.
18         93.    The Universities’ retention of the portion of the tuition and Mandatory Fees
19 during the period of time the Universities moved to a remote online education program,
20 encouraged students to stay off campus, and closed or limited access to services and
21 facilities, and Plaintiff and the members of the Class have been denied an in-person and
22 on-campus live education and access and the services and facilities for which the
23 Mandatory Fees were paid, is unjust and inequitable under the circumstances.
24         94.    Accordingly, the Universities should return the prorated portion of the
25 tuition and Mandatory Fees that Plaintiff and the Class members each paid during the
26 remainder of the Spring 2020 semester, the entirety of the Summer 2020 semester, and
27 any future semesters.
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 1                               FIFTH CLAIM FOR RELIEF
 2                                     CONVERSION
                              (On Behalf of Plaintiff and the Class)
 3
 4         95.    Plaintiff repeats and re-alleges Paragraphs 1 through 66 as if fully alleged
 5 herein.
 6         96.    In the alternative, should there be a finding that no contract exists, Plaintiff
 7 brings this claim individually and on behalf of the members of the Class.
 8         97.    Plaintiff and members of the Class have a right to the services, facilities,
 9 and face to face instruction that was supposed to be provided in exchange for their
10 payments of tuition, and Mandatory Fees to the Universities. In the alternative, should
11 those services, facilities, and face to face instruction not be provided, Plaintiffs and
12 members of the Class have a right to be reimbursed pro-rated tuition and Mandatory
13 Fees.
14         98.    The Universities intentionally interfered with the rights of the Plaintiff and
15 the Class when it moved all in-person classes to a remote online format, cancelled all
16 on-campus events, and discontinued services for which the Mandatory Fees were
17 intended to pay, all while retaining the property (tuition and Mandatory Fees) paid by
18 Plaintiff and the Class.
19         99.    Class members demanded the pro-rata return of their tuition and Mandatory
20 Fees for the period of time in the semester when the Universities switched to remote
21 online learning, encouraged students to stay off campus, and stopped providing the
22 services for which the Mandatory Fees were intended to pay.
23         100. The Universities’ retention of the tuition and Mandatory Fees paid by
24 Plaintiff and the Class without providing the services for which they paid, deprived
25 Plaintiff and Class of the benefits for which the tuition and Mandatory Fees were paid.
26         101. The Universities’ interference with the services for which Plaintiff and the
27 Class paid harmed Plaintiff and the Class in that the Universities have retained property
28 (funds) that rightfully belong to the Plaintiff and Class.

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 1          102. The Universities intend to permanently deprive Plaintiff the Class of these
 2 funds.
 3          103. The Universities have wrongfully converted these specific and readily
 4 identifiable funds.
 5          104. Plaintiff and the Class are entitled to the return of the remaining pro-rated
 6 amounts of tuition and Mandatory Fees for the remainder of the Spring 2020 semester,
 7 the entirety of the Summer 2020 semester, and for any future semesters.
 8                                      PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully requests that judgment be entered in favor
10 of Plaintiff and the Class against Defendants as follows:
11                    (a)    For an order certifying the Class under Rule 23 of the Federal Rules
12          of Civil Procedure and naming Plaintiff as representative of the Class and
13          Plaintiff’s attorneys as Class Counsel to represent the Class;
14                    (b)    For an order finding in favor of Plaintiff and the Class on all counts
15          asserted herein;
16                    (c)    For compensatory damages in an amount to be determined by the
17          trier of fact;
18                    (d)    For an order of restitution and all other forms of equitable monetary
19          relief;
20                    (e)    Awarding Plaintiff’s reasonable attorneys’ fees, costs, and expenses;
21                    (f)    Awarding pre- and post-judgment interest on any amounts awarded;
22          and,
23                    (g)    Awarding such other and further relief as may be just and proper.
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25
26
27 / / /
28 / / /

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 1                             DEMAND FOR TRIAL BY JURY
 2         Pursuant to the Federal Rule of Civil Procedure 38(b), Plaintiff demand a trial by
 3 jury of any and all issues in this action so triable of right.
 4 Dated: July 31, 2020                        CARLSON LYNCH LLP
 5                                       By: /s/Todd D. Carpenter
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